                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

UNITED STATES OF AMERICA                         )
                                                 )   Case No. 1:23-cr-34
v.                                               )
                                                 )   Judge Curtis L. Collier
HUNTER ROBERT COY                                )   Magistrate Judge Susan K. Lee

                                            ORDER

       Before the Court is Defendant Hunter Robert Coy’s second motion to continue the dates in

this matter. (Doc. 15.) The plea agreement and motions deadline is set for July 21, 2023, the final

pretrial conference is scheduled for August 2, 2023, and trial is set to begin on August 14, 2023.

(Doc. 14.)

       Because the public has an interest independent from the defendants in the speedy trial of

criminal cases, courts do not have unbridled authority to continue trials in criminal cases. The

interest of the public is codified in the Speedy Trial Act, 18 U.S.C. §§ 3161 to 3173. The Speedy

Trial Act specifies time limits in which defendants must be tried. 18 U.S.C. § 3161(c)(1). If the

time limits are not followed, the Act mandates dismissal of the information or indictment.

       Before granting any motion to continue a trial in a criminal case, the Court must consider

the effect granting such a request would have on the Speedy Trial Act time limits. The Speedy

Trial Act authorizes the Court to grant delays where the Court finds that the ends of justice served

by granting the continuance outweigh the best interests of the public and the defendant in a speedy

trial. 18 U.S.C. § 3161(h)(7)(A).1


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         The following periods of delay shall be excluded in computing the time within which an
information or an indictment must be filed, or in computing the time within which the trial of any
such offense must commence:
        ...




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       Section 3161(h)(7)(A) requires the Court to make a finding after carefully considering and

balancing multiple factors, including those factors listed in that section. Continuances under the

Speedy Trial Act are not lightly granted, and this Court “must set forth the reasoning supporting

the determination that the interests served by the grant of the continuance outweigh the defendant’s




        (A) Any period of delay resulting from a continuance granted by any judge on his own
motion or at the request of the defendant or his counsel or at the request of the attorney for the
Government, if the judge granted such continuance on the basis of his findings that the ends of
justice served by taking such action outweigh the best interest of the public and the defendant in a
speedy trial. No such period of delay resulting from a continuance granted by the court in
accordance with this paragraph shall be excludable under this subsection unless the court sets forth,
in the record of the case, either orally or in writing, its reasons for finding that the ends of justice
served by the granting of such continuance outweigh the best interests of the public and the
defendant in a speedy trial.

        (B) The factors, among others, which a judge shall consider in determining whether to
grant a continuance under subparagraph (A) of this paragraph in any case are as follows:

        (i) Whether the failure to grant such a continuance in the proceeding would be likely to
make a continuation of such proceeding impossible, or result in a miscarriage of justice.
        (ii) Whether the case is so unusual or so complex, due to the number of defendants, the
nature of the prosecution, or the existence of novel questions of fact or law, that it is unreasonable
to expect adequate preparation for pretrial proceedings or for the trial itself within the time limits
established by this section.
        (iii) Whether, in a case in which arrest precedes indictment, delay in the filing of the
indictment is caused because the arrest occurs at a time such that it is unreasonable to expect return
and filing of the indictment within the period specified in section 3161(b), or because the facts
upon which the grand jury must base its determination are unusual or complex.
        (iv) Whether the failure to grant such a continuance in a case which, taken as a whole, is
not so unusual or so complex as to fall within clause (ii), would deny the defendant reasonable
time to obtain counsel, would unreasonably deny the defendant or the Government continuity of
counsel, or would deny counsel for the defendant or the attorney for the Government the reasonable
time necessary for effective preparation, taking into account the exercise of due diligence.

     (C) No continuance under subparagraph (A) of this paragraph shall be granted because of
general congestion of the court’s calendar, or lack of diligent preparation or failure to obtain
available witnesses on the part of the attorney for the Government.

       18 U.S.C. §§ 3161(h)(7)(A)–(C).


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and the public’s interest in a speedy trial.” United States v. Crawford, 982 F.2d 199, 204 (6th Cir.

1993).

         Defendant requests a continuance of the deadlines in this matter. (Doc. 15.) In support of

this request, Defendant states he is in the process of negotiating a settlement to his case, but these

negotiations have been slowed down by the recent travel schedules of representatives of the United

States and by Defendant’s location in Ocilla, Georgia. (Id. at 1.) The United States does not

oppose this motion. (Id.)

         Because the interests served by granting the continuance outweigh the interests of

Defendant and the public in a speedy trial, the Court GRANTS Defendant’s motion (Doc. 15).

Pursuant to 18 U.S.C. § 3161(h)(7)(A), it is hereby ORDERED:

         (1)    The trial of this matter is continued until September 11, 2023, at 9:00 a.m.;

         (2)    The final pretrial conference is continued until August 30, 2023, at 4:00 p.m.;

         (3)    The deadline for requests for jury instructions is extended through September 4,

                2023; and

         (4)    The plea negotiation and motion deadline is extended through August 23, 2023.

                Any written plea agreement shall be executed by said date.

         The parties shall be prepared to commence trial at 9:00 a.m. on the date which has been

assigned. If this case is not heard at 9:00 a.m. on the date assigned, it will be held in line pending

notification from the Court. Any subpoenas previously served in this matter will remain in full

force and effect for the new trial date. The parties shall be responsible for notifying their witnesses

of the new trial date and this Order.



         SO ORDERED.


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      ENTER:


                                          /s/___________________________
                                          CURTIS L. COLLIER
                                          UNITED STATES DISTRICT JUDGE




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